Case 1:18-mj-03694-JG Document 6 Entered on FLSD Docket 11/27/2018 Page 1 of 19


                                                                                          INTERPRETER
                          U.S. District Court
                   Southern District of Florida (Miami)
      CRIMINAL DOCKET FOR CASE #: 1:18−mj−03694−JG All Defendants
                           Internal Use Only

   Case title: USA v. Hernandez Alvarado                       Date Filed: 11/26/2018
                                                               Date Terminated: 11/26/2018

   Assigned to: Magistrate Judge
   Jonathan Goodman

   Defendant (1)
   Juan Antonio Hernandez                  represented by Manuel J. Retureta
   Alvarado                                               Retureta & Wassem, PLLC
   17838−104                                              16140 20th Street, NW
   YOB 1978 Spanish                                       Washington, DC
   TERMINATED: 11/26/2018                                 202−450−6119
   also known as                                          Email: mjr@returetawassem.com
   Tony Hernandez                                         ATTORNEY TO BE NOTICED
   TERMINATED: 11/26/2018                                 Designation: Temporary

   Pending Counts                                        Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                                     Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                            Disposition
   21:U.S.C.§959,963 CONSPIRACY
   TO IMPORT COCAINE INTO
   THE UNITED STATES;
   18:U.S.C.§924(c),2 POSSESSION
   OF MACHINEGUNS AND
   DESTRUCTIVE DEVICES IN
   FURTHERANCE OF A DRUG
   TRAFFICKING CRIME;
                                                                                                        1
Case 1:18-mj-03694-JG Document 6 Entered on FLSD Docket 11/27/2018 Page 2 of 19


   18:U.S.C.§ 924(o)CONSPIRACY
   TO POSSESS MACHINEGUN
   AND DESTRUCTIVE DEVICES
   IN FURTHERANCE OF A
   DRUG−TRAFFICKING CRIME;
   AND 18:U.S.C.§1001 MAKING
   FALSE STATEMENTS



   Plaintiff
   USA                                           represented by Noticing AUSA CR TP/SR
                                                                Email: Usafls.transferprob@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

    Date Filed   # Page Docket Text
    11/23/2018           Arrest of Juan Antonio Hernandez Alvarado (at) (Entered: 11/27/2018)
    11/26/2018   1    3 Magistrate Removal of Superseding Indictment from SOUTHERN DISTRICT
                        OF NEW YORK Case number in the other District S2−15−CR−379(PKC) as to
                        Juan Antonio Hernandez Alvarado (1). (at) (Entered: 11/26/2018)
    11/26/2018   2   16 NOTICE OF TEMPORARY ATTORNEY APPEARANCE: Manuel J. Retureta
                        appearing for Juan Antonio Hernandez Alvarado (at) (Entered: 11/27/2018)
    11/26/2018   3   17 Minute Order for proceedings held before Magistrate Judge Jonathan Goodman:
                        Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Juan Antonio
                        Hernandez Alvarado held on 11/26/2018. Waiver of Removal executed. Stip PTD
                        with right to revisit. Deft ordered to SD/NY. Spanish Interpreter present. (Digital
                        14:11:32) (Signed by Magistrate Judge Jonathan Goodman on 11/26/2018). (at)
                        (Entered: 11/27/2018)
    11/26/2018   4   18 WAIVER OF RULE 5 & 5.1 REMOVAL/IDENTITY HEARINGS by Juan
                        Antonio Hernandez Alvarado (at) (Entered: 11/27/2018)
    11/26/2018   5   19 COMMITMENT TO ANOTHER DISTRICT as to Juan Antonio Hernandez
                        Alvarado. Defendant committed to District of SOUTHERN DISTRICT OF NEW
                        YORK.. Closing Case for Defendant. (Signed by Magistrate Judge Jonathan
                        Goodman on 11/26/2018). (See attached document for full details). (at) (Entered:
                        11/27/2018)




                                                                                                              2
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 1 of 13
                                                                        Page 3 of 19




                                                                                       3
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 2 of 13
                                                                        Page 4 of 19




                                                                                       4
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 3 of 13
                                                                        Page 5 of 19




                                                                                       5
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 4 of 13
                                                                        Page 6 of 19




                                                                                       6
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 5 of 13
                                                                        Page 7 of 19




                                                                                       7
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 6 of 13
                                                                        Page 8 of 19




                                                                                       8
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 7 of 13
                                                                        Page 9 of 19




                                                                                       9
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                  Entered on
                                          1 FLSD
                                             Filed 11/26/18
                                                   Docket 11/27/2018
                                                            Page 8 of 13
                                                                      Page 10 of 19




                                                                                      10
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                  Entered on
                                          1 FLSD
                                             Filed 11/26/18
                                                   Docket 11/27/2018
                                                            Page 9 of 13
                                                                      Page 11 of 19




                                                                                      11
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 10 of Page
                                                                        13 12 of 19




                                                                                      12
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 11 of Page
                                                                        13 13 of 19




                                                                                      13
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 12 of Page
                                                                        13 14 of 19




                                                                                      14
Case 1:18-mj-03694-JG
          Case 1:18-mj-03694-JG
                       Document 6Document
                                   Entered 1on Filed
                                               FLSD11/26/18
                                                     Docket 11/27/2018
                                                             Page 13 of Page
                                                                        13 15 of 19




                                                                                      15
Case 1:18-mj-03694-JG
           Case 1:18-mj-03694-JG
                       Document 6 Document
                                   Entered on
                                            2 FLSD
                                               Filed Docket
                                                     11/26/18
                                                            11/27/2018
                                                               Page 1 of Page
                                                                         1    16 of 19



                         UNIT ED S TATES D IST RICT COURT
                         SOUTH ERN D ISTR ICT OF F OR IDA
                cAsE ko  .           ./# -v' 5:             &mmg.osx-

  UN ITE D STA TE S OF AM ER ICA ,

                                                   N OTICE OF TEM POR KRY
                                                  A PPEANAH CE A S COUN SEL

tovv A/rnoAorF&'                                    >

          COMES   NOW
                                                    V         irtzf f'l-/and
  files this temporary appearance as counsel for khe abbve named

 defendant ls) at initial appearance. This appearance is made with
 the und6rstanding that the undersign ed counsel will fulfill any
 obligations imposed by the Court such as preparing and filing

 documents necessary to collateralize any personal surety bond
 which may be set .

 COunSel'S Name (lrinted)                  W U W sc- l irtzR E-J-A

 Counsel's Signature                                    V
                                     ''-

 Address       u.. Y s. Jeeaev Jve.o/ ) 83=E
                 asL-.-/vx r d-   zzp coss, zo o o
 rezpyhone      zzpzt        <   - oâ        FLORZOA BAa XUMBER:

 Date:              .zv,./vz 2L Ioz6




                                                                                         16
              Case 1:18-mj-03694-JG
                         Case 1:18-mj-03694-JG
                                     Document 6 Document
                                                 Entered on
                                                          3 FLSD
                                                             Filed Docket
                                                                   11/26/18
                                                                          11/27/2018
                                                                             Page 1 of Page
                                                                                       1    17 of 19

                                                    M IN UTE O RD ER                                                                          Pag:5
e.
 dk'''
êA
.
                                        M agistrate ludge J#eèa'il'af-/ oodm an
                               KingBuildingCourtroom 11-3                                        Date:11/26/2013 Time:1:30p.m.
     Defendant:JUAN A.HERNANDEZ ALVARADO J#:17838-104                   Case #: 18-3694-M J-GOODM AN                        *           .
                                           .



     AusA:               05m h Schttsf-zc                         Attorney: naef                            ttre                        e.
     viojation:S/D/NY/SUPE .INDICT/WARR/CONSP/IMPORTCOCAINE Surr/Arrestpate:11/23/20'18                                               YOB:1978
                   INTO THE U.S.                                                '

     Proceeding: InitialAppearance                                 .         CJA Appt:
     Bond/PTD Held:C'Yes C'No                     Recom mended Bond:
     Bond Setat:                                                             Co-signed by:
         C' surrenderand/ordo notobtainpassports/traveldocs                         Language:

         r.
          r Reportto PTsas directed/or       x'saweek/monthby                       Disposition'                                             ,   .
                                                                                                                                                          '


            phone:       x'saweek/monthinperson
         r7 Randomuri
          '         netestingbyPretrial                                                 .
                                                                                        --obeo
                                                                                           -w                                         .
                                                                                                                                      y-.
                                                                                                                                        &/'x? .
              Se
              Tre
                rv
                 at
                  i
                  c
                  mes
                    entas-deemednecessary                                               :p                                  ,flgar-
                                                                                                                                  , /(p .
         17 Refrainfrom excessiveuse ofalcohol                                      ..



         17 Participate in mentalhealth asqpqsm ent& treatment
         r' Maintainorseekfull-timeemployment/education                             :
                                                                                                         /                  'z
                                                                                                                                            :>ca/z-
         17 Nocontactwithvictims/witnesses,exceptthroughcounsel                     :'  .              ).
                                                                                                                                 ..
         17 No firearms                                                                     .
     '
         r' Notto encum berpropedy                                                                                      .


         17 M ay notvisittransportation establishm ents                                                         -
                                                                                                .'

               Homeconfinement/ElectronicMonitoringand/or                           -
                                                                                                                (   .

         c,
               curfew'
                                   pm to            am ,paid by                     r
         fc Alowa        '

                     nces:M edicalneeds,courtappearances,attorney visi
                                                                     ts,            d
                                                                                    .
                                                                                    ,
                                                                                                            -
                                                                                                                &K1?r2.
                                                                                                                      - -o
               religious,em ploym ent
         17 Travelextendedto:                                                                                                                             :
     Xr' other:                                                                             fIr1om
                                                                                                1I1:::speedyyr
                                                                                                      IItJIIIktl iykt
                                                                                                                  all-
                                                                                                                    cl
                                                                                                                     ock                    unuluuuu
     NEXT COURT APPEARANCE         Date:            Timer           Judge:                                              Place:
     ReportRECounsel'
                    .
     PTB/BondHearing:
     Prelim/ArraignorRemoval:
     statusconferencrRE:
     D.A.R. lt/.
               f//.Y                                                     Timeincourt: f.
                                                                                       s                                              x.
                                                                                                                                       -.
                                               s/lonathanGoodman                                                M agistrateJudge
                                                                                                                                                     17
 Case 1:18-mj-03694-JG
            Case 1:18-mj-03694-JG
                        Document 6 Document
                                    Entered on
                                             4 FLSD
                                                Filed Docket
                                                      11/26/18
                                                             11/27/2018
                                                                Page 1 of Page
                                                                          1    18 of 19

                              IJN ITKD STA TES D ISTR ICT CO U R T
                              SO U TH ER N D ISTR ICT OF FLO RID A
                                 CaseNo: 18-3694-M J-GOOQM-AN- .
U nited StatesofA m erica
        Plaintiff,

                                            Charging District'sCmse N o. 15-CR-379

JuM   AN TON IO H ERN AN D EZ A LV AR AD O,
      D efendant.
                                      /

                W M VER O F R U LE 5 & 5.1 R EM O V M W D EN TITY H EAR IN G S

       I tmderstand that 1 have been charged in another district, the SO U TH ER N DISTRIC T O F
N EW Y O RK .
       Ihavebeen infonned ofthe chargesand ofm y rightsto:
       (1)    retain cotmselorrequestthe mssignm entofcotmselif1nm unableto retain cotm sel;
       (2)    an identity henringto detennine whetherInm theperson nnm ed in the charges;
       (3)    production ofthe w arrant,a certified copy ofthe w arrant,or a reliable electronic copy of
              either;
       (4)    a prelim inary hearing witllin 14 daysofm y firstappearance if1 am in custody and 21
              daysotherwise- unlesslam indicted- todeterminewhetherthereisprobablecauseto
              belleve thatan offense has been com m itted;
       (5)    ahearing on any motion by the governmentfordetention;
       (6)    requesttransfer of the proceedings to this districttmder Fed.R.Crim .P.20,to plead
              gtlilty.

       1agreetowaivemyrightsto:(check thosethatapply)
              A n identity headng and production ofthe w arrant.
         I
         ---IA preliminaryhearing.
         g-'-lA detentionhenringintheSouthem DistrictofFlodda.
         I
         ---IAn-identityhearing,production.ofthewarrant,andanypreliminaryordetentionhearing
              towltichImaybeentitled toin thisdistrict. Irequestthatthosehearingsàeheld in the
              prosecuting district,atatim esetby thatcourt.
       I consent to th.e issuance of an order requiring m y appeawm ce in the prosecuting districtw here
the chargesare pending againstm e.


                                                          D e e ant's '
D ate: 11/26/2018

                                                          Jona h   oodm an
                                                          UN ITED STA TES M AG ISTM TE JUD GE
                                                                                                       18
 Case 1:18-mj-03694-JG
            Case 1:18-mj-03694-JG
                        Document 6 Document
                                    Entered on
                                             5 FLSD
                                                Filed Docket
                                                      11/26/18
                                                             11/27/2018
                                                                Page 1 of Page
                                                                          1    19 of 19



                                  U nited Stii4'
                                               eàk
                                                .D istrietCourt
                                  Southern D istrict ofFlorida
                                 Case N o.18-3694-M J-G O OD M A N


UN ITED STA TES O F A M ERICA ,


                                            Charging District'sCaseNo.15-C* -379


JuM   AN TONIO HERN A N D EZ A LV AM D O ,
(USM# 17838-104)
           '
                                    /

                            COM M ITM EN T TO AN OTH ER D ISTRICT

       Thedefendanthasbeen ordered to appearin the SOUTHERN DISTRICT OF N EW YORK.
           $
               q,kJtt(qI-qJCZV                                     was)q#u'
                                                                          bAVA
                                                                             jo represent
D efendantfor proceedings4n this District.

       The defendantrem ains in custody afterthe irlitialappearance in the Southern D istrictofFlorida.

       IT IS ORDERED thatthe United Statesm arshalmusttransportthe defendant,togetherwith a

copy ofthisorder,to thecharging districtand deliverthe defendantto the United SGtesmarshalforthat

district,or to anotherofficer.authorized to receive the defendant'The m arshalorofficer in the charging

districtshould im m ediately notify theUnited Statesattorney and theclerk ofcourtforthatdistrictofthe

defendant'sarrivalso thatfurtherproceedingsm ay be prom ptly scheduled.The clerk ofthis districtm ust

prom ptlytransmitthepapersand anybailto the charging district.

       D O NE AN D OR D ERE D atM iam i,Florida on 11/ 6/2018.



                                                   Jon an Goodm an
                                                   > 1 ED STA TES G GISTR ATE JUD GE




                                                                                                          19
